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                            UNITED STATES DISTRICT COURT FOR THE

                                  SOUTHERN DISTRICT OF FLORIDA

                                             MIAMI DIVISION

                                          CASE NO. 1:24-cv-25046

    XYZ CORPORATION,

    Plaintiff,

    v.

    THE INDIVIDUALS, PARTNERSHIPS AND

    UNINCORPORATED ASSOCIATIONS IDENTIFIED

    ON SCHEDULE “A”,

    Defendants.

    _________________________________________________/

           NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY


    PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned counsel,

    Plaintiff hereby voluntarily dismisses with prejudice all claims against the following defendants:


         Def.      Defendant              Seller Id          Platform                Account
         No          Name
         26.        Honceka           A1PEE0Y47TLT           Amazon         https://www.amazon.com/s
                                           5M                              p?ie=UTF8&seller=A1PEE
                                                                                0Y47TLT5M&asin
         110      BEAMNOVA               101086553           Walmart       https://www.walmart.com/g
                                                                           lobal/seller/101086553



    Respectfully submitted on this 8th day of April, 2025.


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                                                                      By:/s/ Michael Feldenkrais, Esq.
                                                                      Florida Bar No. 991708
